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                      IN THE UNITED STATES COURT
                    FOR THE DISTRICT OF PUERTO RICO




WALBERTO HERNÁNDEZ REYES,

   Plaintiff,

                   v.                  CIV. NO.: 21-1372 (SCC)

CT RADIOLOGY COMPLEX, LLC,

  Defendant.



                              JUDGMENT

        In view of the Motion of Voluntary Dismissal at Docket

    No. 29 and the Court’s Order at Docket No. 30 granting the

    same, this case is hereby dismissed with prejudice with each

    party to bear its own costs and attorney’s fees.

        IT IS SO ORDERED.

        In San Juan, Puerto Rico, this 7th day of June 2022.

                      S/ SILVIA CARREÑO-COLL
                UNITED STATES DISTRICT COURT JUDGE
